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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

GLOBAL MARINE EXPLORATION,
INC.,
      Plaintiff,
v.                                                  Case No. 4:20-cv-181-AW-MJF
REPUBLIC OF FRANCE,
     Defendant.
_______________________________/
     AMENDED1 ORDER GRANTING MOTION TO AMEND SCHEDULE

      Defendant’s unopposed motion to amend the scheduling order (ECF No. 47)

is GRANTED to this extent: the deadline for the parties’ Rule 26(f) meeting is

extended to October 7, and the deadline to file the Rule 26 Meeting Report is

extended to October 14. Discovery may begin after the meeting. The court will adjust

the discovery deadline and trial date after reviewing the parties’ report.

      Defendant’s deadline to respond to the complaint is extended to October 7.

      SO ORDERED on June 21, 2022.

                                        s/ Allen Winsor
                                        United States District Judge




      1
       This order supersedes yesterday’s order (ECF No. 48), which, because of my
oversight, did not extend the deadline to respond to the complaint.
